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Sisters of AL

Mercy Hermanas dela
Misericordia

The Honorable Leo T. Sorokin August 1, 2018
United States District Court

John Joseph Moakley Courthouse

1 Courthouse Way

Boston, MA 02210

Re: Ross McLellan

Dear Judge Sorokin,

I am writing this letter on behalf of my nephew, Ross McLellan, who is a loving, caring, and
capable son, husband, father, brother, grandson, and uncle. He wears many hats. From my
perspective, the best way to describe him is “family man” and all that entails.

Ross is the youngest of my late brother's three children. As a child growing up he was a happy,
fun loving, caring individual. He was academically gifted, especially in math. As a teenager, his
first job was at Almac supermarket in the meat and produce department. The first thing he did
upon getting the job was to join the union, thus receiving a higher wage. Ross was always a good
manager.

He was, and still is, an avid sports enthusiast. I love it when he and I text back and forth during a
Patriot’s or Celtic’s game. He played hockey for Pilgrim High School. What he lacked in natural
talent he made up in determination and effort. As the goalie for his high school team they won
the division championship.

After graduating from Stonehill College he met and married the love of his life, Lisa. He began
working at State Street Bank. As he rose in the ranks his position required him to travel more and
took him away from his growing young family. He did not want to find that in future years he
did not know his children. After he parted ways with State Street Bank and started his own
business, he quickly found the silver lining and enjoyed being more involved with his young
family. His four children are very actively involved in sports. It seems there is always a practice,
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game, recital or some other event to attend. Ross is always on the go! He is in his glory when he
is with his children!

At family gatherings, whether preparing, cooking, serving or cleaning up, Ross and Lisa work as
a team. The same would happen if the celebration was held at his late parents' home. Since their
home was very small and lacked some modern amenities (such as a dishwasher), Ross would be
the first one to jump up and start washing the dishes. When it came to caring for his aging
parents, if he saw a need, he addressed it. Ross kept daily tabs on his parents, both of whom died
in 2016. As they became more incapacitated he and his siblings were totally involved with their
care. At his lunch break he might have to travel from Hingham to Cumberland, Rhode Island to
check on them or attend a care conference. No small feat.

It also always impressed me how well Ross and Lisa handle their parental obligations, whether
monitoring their children’s progress in school or managing their religious responsibilities such as
attending weekly Mass, or making sure their children make their first communion.

Since I am a Religious Sister of Mercy and involved in fund raising for our community needs, on
several occasions I have asked Ross for financial support for our causes. He always responded

positively and has always been very generous.

As his aunt, | am very proud of what Ross has become: a caring, loving, sensitive person.

etx TLL Melia —

Sister Rose Angela McLellan

Religious Sisters of Mercy
